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AO 199A (Rev. 06/19) Order Setting Conditions of Release Page | of 3 Pages

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

)

V. )
William Pope ) Case No. 21-cr-128-1

)

Defendant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that

the court may impose.
The defendant must appear at: U.S. District Court for the District of Columbia, 333 Constitution Ave NW, WDC

Place

Status Conference before Judge Rudolph Contreras

on 5/5/2021 11:30 am

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.

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AO 199B (Rev. 12/11) Additional Conditions of Release Page 2 of 3 Pages
ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of:
Person or organization

Address (only if above is an organization)

City and state Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian Date
(X) (7) The defendant must:
( X ) (a) submit to supervision by and report for supervision to the Pretrial Services for the District of Columbia,

telephone number (202) 442-1000. no later than
(b) continue or actively seek employment.
(c) continue or start an education program.
(d) surrender any passport to:
(e) not obtain a passport or other international travel document.
(f) abide by the following restrictions on personal association, residence, or travel: Defendant to notify PSA in advance

of all travel outside the District of Kansas. Court to approve all travel outside the continental US.
( ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,

including:

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( ) (h) get medical or psychiatric treatment:

( ) (i) return to custody each at o’clock after being released at o'clock for employment, schooling,
or the following purposes:

(_) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers

necessary.
( ) (k) not possess a firearm, destructive device, or other weapon.
( ) ())_ not use alcohol ( ) at all ( ) excessively.

( ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

( ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

( ) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

( ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.

() G) Curfew. You are restricted to your residence every day ( ) from to ,or ( ) as
directed by the pretrial services office or supervising officer; or

( ) (ji) Home Detention. You are restricted to your residence at all times except for employment; education; religious services: medical,
substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations: or other activities
approved in advance by the pretrial services office or supervising officer; or

(_ ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

( ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

(_) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

( ) (1) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.
(x) (s) Stay out of D.C. except for Court, meetings with Atty or PSA business.

Do not possess illegal firearms

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AO 199C (Rev. 09/08) Advice of Penalties Page 3. of 3 Pages
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. 1 promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

acknowledged on the record

Defendant's Signature

Washington, DC

City and State

Directions to the United States Marshal

(xx) The defendant is ORDERED released after processing.

(__) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before

the appropriate judge at the time and place specified.

Dace: 3/5/2021

f Judicial Officer's Signature
é
Rudolph Contreras, U.S. District Court Judge

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY — U.S. MARSHAL

